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     International Company, TweetDeck, Inc., and
  14 Magic Pony Technology, Inc.
  15
                                  UNITED STATES DISTRICT COURT
  16
                               CENTRAL DISTRICT OF CALIFORNIA
  17
                                          WESTERN DIVISION
  18
       GENEVIEVE MORTON,                             )
  19                                                     Case No. 2:21-cv-07145-GW-JEMx
                                                     )   c/w 2:20-cv-10434-GW-JEM
  20                 Plaintiff,                      )
                                                     )   REPLY IN SUPPORT OF THE
  21                                                     TWITTER DEFENDANTS’
              v.                                     )
  22                                                 )   MOTION TO DISMISS

  23 TWITTER, INC., et. al,                          )   Date:    December 30, 2021
                                                     )   Time:    8:30 A.M.
  24                 Defendants.                     )   Crtrm:   9D
                                                     )   Judge:   Hon. George H. Wu
  25
                                                     )
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   1          Plaintiff’s Opposition (ECF No. 29, “Opp.”) to Twitter’s Motion to Dismiss
   2 (ECF No. 24, “MTD”) offers no viable basis for asserting personal jurisdiction over
   3 Twitter International Company (“Twitter International”) or for asserting any claims
   4 against the Twitter subsidiaries named as Defendants in this case. Nor can Plaintiff
   5 save her false light or right of publicity claims, which both fail on their own terms and
   6 are barred by Section 230.
   7 I.       TWITTER INTERNATIONAL IS NOT SUBJECT TO GENERAL
   8          JURISDICTION IN CALIFORNIA
   9          Defendants’ Motion to Dismiss explained that the facts pleaded in the
  10 Complaint create no legally cognizable basis for subjecting Twitter International—a
  11 foreign subsidiary of Twitter, Inc. (“Twitter”) based in Ireland—to personal
  12 jurisdiction in this Court. Twitter International is not “at home” in California, and
  13 Plaintiffs identified no specific California-directed activities by Twitter International
  14 that bear on the claims asserted in this action. MTD at 7-10. In response, Plaintiff
  15 makes three arguments for asserting personal jurisdiction: (1) Twitter International
  16 did not contest jurisdiction in a prior (unrelated) case in California; (2) Twitter
  17 International was supposedly served through a registered agent in California; and (3)
  18 Twitter International conducts “substantial business” in California. Opp. at 9. Each
  19 of these arguments fail as a matter of law.
  20          First, the fact that Twitter International did not challenge personal jurisdiction
  21 in Murphy v. Twitter, Inc., 60 Cal. App. 5th 12 (2021) is immaterial. Murphy was
  22 entirely unrelated to this case: it arose from Twitter’s suspension of the account of a
  23 (Canadian) user for violating its policies against hatred directed toward transgender
  24 individuals. Id. Whatever Twitter International’s reasons were for not contesting
  25 jurisdiction in Murphy, that has no bearing here. It is black letter law that a party’s
  26 consent to jurisdiction in one case is not (and cannot be taken as) consent to
  27 jurisdiction in a later case. See, e.g., Fahmy v. Jay-Z, No. CV 07-5715 CAS (PJWx),
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   1 2008 U.S. Dist. LEXIS 91375, at *10-11 (C.D. Cal. Oct. 29, 2008) (rejecting
   2 arguments that defendant waived personal jurisdiction by consenting to the same
   3 court’s exercise of personal jurisdiction in another matter); Johnson v. UBS AG, No.
   4 2:20-cv-00357-MCS-JC, 2020 U.S. Dist. LEXIS 221926, at *7 (C.D. Cal. Nov. 12,
   5 2020) (“the fact that UBS failed to challenge jurisdiction in other cases does not
   6 satisfy Plaintiffs’ burden here, nor does it amount to UBS’s waiver of general
   7 personal jurisdiction defenses in this District.”), aff’d, 860 F. App’x 531 (9th Cir.
   8 2021). Unsurprisingly, therefore, Plaintiff cites no authority that even purports to
   9 support her argument.
  10          Second, while Twitter International disputes that it was properly served—and
  11 does not in fact maintain an agent to receive service of process in California (see
  12 Supplemental Shin Decl. ¶¶ 3-4)—even assuming otherwise, binding precedent
  13 makes clear that in-state personal service on a corporation’s officers or agents does
  14 not create personal jurisdiction. The Ninth Circuit resolved that question in Martinez
  15 v. Aero Caribbean, 764 F.3d 1062 (9th Cir. 2014). The issue there was “whether,
  16 under Burnham v. Superior Court, 495 U.S. 604 (1990) . . . , service of process on a
  17 corporation’s officer within the forum state creates general personal jurisdiction over
  18 the corporation.” Martinez, 764 F.3d at 1064. The Ninth Circuit expressly held that
  19 “Burnham does not apply to corporations” and thus that a “court may exercise general
  20 personal jurisdiction over a corporation only when its contacts ‘render it essentially
  21 at home’ in the state.’” Id. (emphasis added) (quoting Daimler AG v. Bauman, 571
  22 U.S. 117, 122 (2014)); see also id. at 1071 (“Burnham does not authorize tag
  23 jurisdiction over corporations”); AM Trust v. UBS AG, 681 F. App’x 587, 589 (9th
  24 Cir. 2017) (“Nor does UBS’s acceptance of service of process in California in this
  25 case amount to consent to personal jurisdiction in that state.”); MidCap Funding
  26 XVIII Trust v. CSC Logic, Inc., No. 2:20-cv-09648-CAS-RAOx, 2021 U.S. Dist.
  27 LEXIS 46992, at *15 (C.D. Cal. Mar. 12, 2021) (“even assuming arguendo that
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   1 defendant’s agent accepted service of process in California, that is insufficient to
   2 establish personal jurisdiction”); accord Siemer v. Learjet Acquisition Corp., 966
   3 F.2d 179, 183 (5th Cir. 1992) (“To assert, as plaintiffs do, that mere service on a
   4 corporate agent automatically confers general jurisdiction displays a fundamental
   5 misconception of corporate jurisdictional principles.”).1
   6          Third, Plaintiff’s assertion that Twitter International is “at home” in California
   7 based on her allegations that Twitter International “conducts substantial business” in
   8 this state is equally contrary to settled law. The Supreme Court expressly “rejected
   9 the argument that general jurisdiction is appropriate whenever a corporation ‘engages
  10 in a substantial, continuous, and systematic course of business’ in a state.” Martinez,
  11 764 F.3d at 1070 (quoting Daimler, 571 U.S. at 137-38). Moreover, insofar as
  12 Plaintiff seeks to use Twitter’s presence in California to impute jurisdictional
  13 contacts to its subsidiary (Opp. 14), that too is improper. As the Ninth Circuit has
  14 explained: “The existence of a parent-subsidiary relationship is insufficient, on its
  15 own, to justify imputing one entity’s contacts with a forum state to another for the
  16 purpose of establishing personal jurisdiction.” Ranza v. Nike, Inc., 793 F.3d 1059,
  17 1070 (9th Cir. 2015). Nor can such contacts be imputed through an “agency” test (id.
  18 at 1070-71)—and Plaintiff has not even tried to argue that Twitter International is an
  19
  20      1
            It is equally well settled that “a corporation’s designation of an agent for in-state
  21   service of process does not create general jurisdiction over the corporation.” Martinez,
       764 F.3d at 1069 (citing King v. Am. Family Mut. Ins. Co., 632 F.3d 570, 579 (9th
  22   Cir. 2011) (defendant’s Montana contracts, which included the appointment of an in-
  23   state agent for service of process, “hardly approximate physical presence” and do not
       render the company at “home”)); MidCap Funding, 2021 U.S. Dist. LEXIS 46992, at
  24   *14-15 (“the California Supreme Court has been clear that the ‘designation of an agent
  25   for service of process and qualification to do business in California’ do not require
       corporations to consent to general jurisdiction and, ‘alone[,] are insufficient to permit
  26   general jurisdiction.’” (alteration in original) (quoting Bristol-Myers Squibb Co. v.
  27   Super. Ct., 1 Cal. 5th 783, 798, (2016), rev’d on other grounds, Bristol-Myers Squibb
       Co. v. Super. Ct., 137 S. Ct. 1773 (2017))).
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   1 “alter ego” of Twitter. (id. at 1071-73). Based on the allegations in the Complaint,
   2 therefore, it is clear that Twitter International is not subject to general jurisdiction.
   3          Finally, insofar as Plaintiff points to a handful of conclusory and general
   4 allegations—such as that “Twitter and/or Twitter International offered its Services
   5 to the Doe Defendant Number 2” (Compl. ¶ 11)—to argue for specific jurisdiction
   6 (Opp. at 14), this falls equally short. As Twitter has explained (MTD at 9-10),
   7 Plaintiff does not allege a single fact to suggest that Twitter International’s “suit-
   8 related conduct” created “a substantial connection with” California. Walden v. Fiore,
   9 571 U.S. 277, 284 (2014). To the contrary, Plaintiff’s own allegations undermine any
  10 such suggestion. She alleged that Twitter International provides service to users
  11 outside the United States, but that the Doe Defendant operated a website hosted
  12 “within the United States.” Compl. ¶¶ 7, 11. On top of that, the undisputed record
  13 makes clear that Twitter International was not involved in processing the copyright
  14 notices at issue here or removing the allegedly infringing material from Twitter. ECF
  15 No. 24-2 (Shin Decl. ¶ 4). There is, in short, simply no basis for asserting personal
  16 jurisdiction over Twitter International.2
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  21        Plaintiff makes a passing request for jurisdictional discovery (Opp. at 2, 11), but
       she makes no showing whatsoever of the kind of discovery she might wish to conduct
  22   or what she thinks such discovery could produce. It is well settled that the refusal to
  23   grant jurisdictional discovery “is not an abuse of discretion when it is clear that further
       discovery would not demonstrate facts sufficient to constitute a basis for jurisdiction.”
  24   Martinez, 764 F.3d at 1070; accord Krueger v. Adlife Mktg. & Commc’ns Co., No.
  25   2:20-cv-07083-VAP-PJWx, 2020 U.S. Dist. LEXIS 233624, at *13 (C.D. Cal. Dec.
       10, 2020) (finding no basis for jurisdictional discovery); Johnson v. Mitchell, No. CIV
  26   S-10-1968 GEB GGH PS, 2012 U.S. Dist. LEXIS 65934, at *19 (E.D. Cal. May 10,
  27   2012) (explaining that “limited discovery should not be permitted to conduct a
       ‘fishing expedition.’”). That is exactly the situation here.
  28
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   1 II.      PLAINTIFF CANNOT SAVE HER CLAIMS AGAINST TWITTER’S
   2          SUBSIDIARIES
   3          As explained in Defendants’ motion, the Complaint offers no non-conclusory
   4 allegations against Twitter International, TweetDeck, Inc. (“TweetDeck”), and
   5 Magic Pony Technology, Inc. (“Magic Pony”) that, taken as true, could state viable
   6 claims against them. MTD at 10-13. The Opposition only confirms this problem.
   7          Plaintiff vaguely asserts that these entities are wholly owned subsidiaries of
   8 Twitter, that there is a “close relationship” between them, and that they acted as
   9 “agents” of Twitter. Opp. 16-17. That is not nearly enough. See, e.g., Neilson v.
  10 Union Bank of Cal., N.A., 290 F. Supp. 2d 1101, 1116 (C.D. Cal. 2003) (explaining
  11 that “a parent company is presumed to have an existence separate from its
  12 subsidiaries” and that “[c]onclusory allegations of ‘alter ego’ status are insufficient
  13 to state a claim”); Paramount Farms, Inc. v. Ventilex B.V., No. CV F 08-1027 LJO
  14 SKO, 2010 U.S. Dist. LEXIS 110432, at *16 (E.D. Cal. Oct. 4, 2010) (“Although the
  15 proposed FAC attempts to state a conclusory allegation of a principal-agency
  16 relationship, it lacks necessary facts to support such relationship. The proposed
  17 FAC’s mere allegation of a parent-subsidiary relationship is insufficient.”). Plaintiff
  18 cannot rely on group pleading or vague allegations of corporate connections: instead,
  19 “to state a claim against an individual defendant, plaintiff must allege sufficient
  20 factual allegations against that defendant to nudge each claim plaintiff wishes to
  21 raise ‘across the line from conceivable to plausible.’” Carter v. Liang, No. CV 20-
  22 10025-JAK (PLA), 2020 U.S. Dist. LEXIS 252883, at *11-12 (C.D. Cal. Dec. 16,
  23 2020) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). But neither
  24 the Complaint nor the Opposition offers even a single fact that suggests that Twitter
  25 International, Tweet Deck, or Magic Pony took any actions that amount to copyright
  26 infringement, a violation of the right of publicity, or false light.
  27
  28
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   1          Twitter International. In trying to explain its claims against Twitter
   2 International, Plaintiff says that if a user outside the United States contributed to the
   3 infringement, Twitter International would have been responsible for terminating that
   4 users’ account. Opp. at 14-15. But the Complaint does not allege that any such users
   5 are actually involved in this case and, as noted, her allegations indicate otherwise.
   6 Plaintiff cannot state a claim with a counterfactual hypothetical. Plaintiff fares no
   7 better in pointing to the Complaint’s wholly conclusory allegations that “Twitter, Inc.
   8 and its subsidiaries acted willfully in encouraging users to upload photographs” and
   9 in ignoring the infringement.” Id. at 15; Compl. ¶¶ 79-80. These allegations are the
  10 paradigm of the “[t]hreadbare recitals of the elements of a cause of action, supported
  11 by mere conclusory statements,” that “do not suffice” to state a claim. Ashcroft v.
  12 Iqbal, 556 U.S. 662, 678 (2009); accord Keates v. Koile, 883 F.3d 1228, 1243 (9th
  13 Cir. 2018) (courts are not “bound to accept as true a legal conclusion couched as a
  14 factual     allegation     or   ‘an    unadorned,   the-defendant-unlawfully-harmed-me
  15 accusation’”).
  16          TweetDeck. The only references to TweetDeck in the Opposition are entirely
  17 generic: (1) an explanation that TweetDeck is an application that “enables entire
  18 teams of people to ‘share access’ to an account” (Opp. at 9, 17-18); and (2) the
  19 assertion that the “Twitter Defendants” provided “the TweetDeck Interface, a social
  20 media dashboard application for management of multiple Twitter accounts shared by
  21 multiple people with multiple IP addresses all over the world” (id. at 21). These
  22 recitals do not state a cause of action. There is obviously nothing wrongful about a
  23 tool that allows multiple users to share a single Twitter account, and Plaintiff does
  24 not even try to explain (much less allege) what TweetDeck has to do with any alleged
  25 copyright infringement, right of publicity violations, or false light claims asserted
  26 here. Indeed, Plaintiff does not allege that the Doe Defendant (the @city_tits user)
  27 ever used TweetDeck for any purpose—and certainly not for an illegal purpose. Nor
  28
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   1 is there any purported connection between TweetDeck and the injuries Plaintiff
   2 claims to have suffered. The Opposition thus only underscores that Plaintiff has no
   3 viable claim against TweetDeck.
   4          Magic Pony. Plaintiff’s sole mention of Magic Pony in the Opposition is the
   5 assertion that “the algorithm developed by Magic Pony” was used to crop “Plaintiff’s
   6 image.” Id. But, as Defendants previously explained, this bare assertion does not give
   7 rise to a viable cause of action against Magic Pony. MTD at 12-13. There are no
   8 factual allegations that Magic Pony played any actual role in the supposed use of the
   9 cropping algorithm in connection with Tweets at issue, much less that Magic Pony
  10 itself either violated (or knowingly contributed to or directly financially benefited
  11 from the infringement of) Plaintiffs’ copyright or made a statement with actual malice
  12 that put Plaintiff in a false light. Plaintiff offers no response to these points, other
  13 than just to repeat the Complaint’s threadbare and insufficient allegations. That
  14 confirms that dismissal is appropriate—and that Plaintiff has no further allegations
  15 that could possibly state a claim against Magic Pony.
  16 III.     PLAINTIFF CANNOT SAVE HER FALSE LIGHT OR RIGHT OF
  17          PUBLICITY CLAIMS
  18          A.     Plaintiff Has No Viable False Light Claim
  19          Defendants’ motion explained that Plaintiff failed to allege multiple elements
  20 of a false light claim based on the purported cropping of her photographs by Twitter’s
  21 automated algorithm: (1) Plaintiff has not plausibly alleged that such cropping is a
  22 statement of fact at all—much less a false assertion; (2) Plaintiff did not even try to
  23 allege actual malice. Id. at 13-17.
  24          Plaintiff largely ignores the first point, and the little that she does say confirms
  25 the insurmountable problem with her claim. Plaintiff does not even try to explain how
  26 the use of an automated algorithm that crops millions of photographs across a service
  27 like Twitter amounts to an assertion of fact by Twitter about the individuals who
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       REPLY ISO THE TWITTER DEFENDANTS’ MOTION TO   7               CASE NO. 2:21-cv-07145-GW-JEMx
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   1 appear in those photographs. Plaintiff certainly does not cite a single case in which a
   2 false light claim has been allowed to proceed on anything like this theory. And she
   3 does not respond at all to the cases discussed in the Motion to Dismiss. Cf. Gerard v.
   4 Wells Fargo Bank, N.A., No. CV 14-03935 MMM (SHx), 2015 U.S. Dist. LEXIS
   5 66167, at *39-40 (C.D. Cal. May 19, 2015) (failure to substantively respond to
   6 arguments in an opposition warrants dismissal). Without a factual statement by any
   7 of the Twitter Defendants, there can be no false light claim against them.
   8          While the Court could stop there, Plaintiff also does nothing to explain what
   9 was supposedly false about how her images were cropped. The only reference
  10 Plaintiff makes to this point is to confirm that the Doe Defendant (@city_tits) was the
  11 one who “falsely presented” Plaintiffs in the underlying Tweet as “the authorized
  12 spokesmodel for a pornographic enterprise.” Opp. at 19. That underscores the basic
  13 problem: insofar as Plaintiff claims that she was falsely presented as being involved
  14 in pornography, that was a function of the underlying user’s Tweet. Plaintiff then says,
  15 without explanation, that Twitter “contributed to this falsehood by cropping the
  16 photograph with its sexist saliency algorithm to display a cropped version that altered
  17 the context and character of the image.” Id. But, as we have explained (MTD at 14-
  18 16), this conclusory assertion does not explain how the mere cropping of the image,
  19 by itself, transformed its meaning into something that put Plaintiff in a false light.
  20 Plaintiff does not suggest that the algorithm added anything to the photographs. Nor
  21 does she explain (much less show) the supposed difference between the cropped and
  22 uncropped versions. She makes no effort to distinguish this case from Aisenson v.
  23 American Broadcasting Co., 220 Cal. App. 3d 146 (1990), which rejected an
  24 analogous claim. MTD at 14-15. And Plaintiff ignores the fact that the materials cited
  25 in her own Complaint refute that the algorithm was actually sexist or favored women’s
  26 bodies over their faces. MTD at 15 n.4. Simply put, there is no plausible basis for the
  27 Court to conclude that, even if the Twitter Defendants somehow made a statement
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   1 through the alleged cropping, that statement itself communicated something false
   2 about Plaintiff.
   3          Finally, Plaintiff cannot avoid her failure to establish actual malice. MTD at
   4 16-17. Plaintiff does not dispute that actual malice applies here, but argues that she
   5 has provided “evidence of negligence, motive, and intent.” Opp. 18. Of course,
   6 negligence is not enough, see De Havilland v. FX Networks, LLC, 21 Cal. App. 5th
   7 845, 870 (2018), and what little “evidence” Plaintiff identifies falls far short of
   8 establishing that the Twitter Defendants “intended to convey the defamatory
   9 impression” (id.). Indeed, the Complaint itself does not so much as allege malice (or
  10 anything about the Twitter Defendants’ state of mind). Compl. ¶¶ 86-87. And the
  11 Opposition does not fill the void. Plaintiff focuses largely on the conduct of the third-
  12 party user who posted the Tweets, rather than on anything Twitter did. Opp. 18-19.
  13 Plaintiff’s assertions about Twitter are simply that it (1) “offered its services” to that
  14 user and received compensation, and (2) applied its general cropping algorithm to
  15 display a cropped version of the photographs. Id. Even taking these assertions as true,
  16 they fall short of actual malice. They say nothing about Twitter’s mental state, much
  17 less that it intended to cast Plaintiff in a false light. At most, these are the kinds of
  18 “formulaic recitations” of “ill-will and knowledge of falsehood” that “fall short” of
  19 the “‘demanding burden’ for pleading actual malice.” Peterson v. Gannett Co., No.
  20 CV-20-00106-PHX-MTL, 2020 U.S. Dist. LEXIS 70720, at *20-21 (D. Ariz. Apr.
  21 22, 2020) (citation omitted) (dismissing complaint for failing to plausibly allege
  22 malice); accord Wynn v. Chanos, 75 F. Supp. 3d 1228, 1238-40 (N.D. Cal. 2014)
  23 (same, where Plaintiff failed to make “any specific allegations that would support a
  24 finding that [Defendants] harbored serious subjective doubts as to the validity of
  25 [their] assertions”); Resolute Forest Prods., Inc. v. Greenpeace Int’l, No. 17-cv-
  26 02824-JST, 2019 U.S. Dist. LEXIS 10263, at *21 (N.D. Cal. Jan. 22, 2019) (“it is
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       REPLY ISO THE TWITTER DEFENDANTS’ MOTION TO   9             CASE NO. 2:21-cv-07145-GW-JEMx
       DISMISS
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   1 proper to dismiss a complaint when the Court concludes the plaintiff fails to plead
   2 actual malice as a matter of law”).3 For this reason as well, Plaintiff’s claim fails.
   3             B.    Plaintiff’s Right of Publicity Claim Fails As a Matter of Law
   4             Plaintiff argues in her Opposition that she has stated a claim “against all
   5 Defendants” for a violation of California’s statutory right of publicity. Opp. at 19. But
   6 this contradicts her own Complaint, which expressly states that the right of publicity
   7 claim (Count IV) is asserted only “against Doe Defendant 1 @city_tits.” Compl. at
   8 14. Beyond being procedurally improper, Plaintiff’s belated effort to assert this claim
   9 against the Twitter Defendants fails as a matter of law.
  10             A right of publicity claim requires a showing that “require[s] that the defendant
  11 actually use the plaintiff’s likeness.” Cross v. Facebook, Inc., 14 Cal. App. 5th 190,
  12 210 (2017) (rejecting right of publicity claim against Facebook for publishing content
  13 created by third parties because Plaintiff “has not, and cannot, offer any evidence that
  14 Facebook used his name or likeness in any way”). Here, however, Plaintiff does not
  15 suggest that the Twitter Defendants themselves used Plaintiff’s name or likeness for
  16 a commercial purpose. Instead, she asserts that “Doe Defendant #2 [i.e., @city_tits]
  17 used Ms. Morton’s name, photograph and likeness” in the Tweets at issue. Opp. at 20.
  18 Plaintiff seeks to hold Twitter “vicariously liable” for the alleged violation, that is, for
  19 allegedly failing to remove the Tweets at issue and by allegedly providing the third-
  20 party @city_tits user with “the means to infringe.” Id. at 20-21.
  21             That theory does not work. In addition to Cross v. Facebook, Inc., 14 Cal. App.
  22 5th 190, 210 (2017), Perfect 10, Inc. v. Google, Inc., No. CV 04-9484 AHM (SHx),
  23 2010 WL 9479060, at *13 (C.D. Cal. July 30, 2010), aff’d, 653 F.3d 976 (9th Cir.
  24
          3
  25      Moreover, Plaintiff “must allege that each defendant had actual malice when it
     published, or had responsibility for the publication of, a defamatory statement.”
  26 Resolute Forest, 2019 U.S. Dist. LEXIS 10263, at *22 (emphasis added). As
  27 discussed above, Plaintiff has not pointed to anything that could remotely establish
     actual malice by Twitter International, Tweet Deck, or Magic Pony.
  28
     REPLY ISO THE TWITTER DEFENDANTS’ MOTION TO 10            CASE NO. 2:21-cv-07145-GW-JEMx
       DISMISS
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   1 2011) is directly on point. The plaintiff there asserted a right of publicity claim against
   2 Google based on content posted by third parties on its Blogger service. Explaining
   3 that “‘[c]ontributing’ to someone’s violation of something is not the same as actually
   4 ‘violating’ it,” the Court rejected the claim, because the plaintiff “has not shown that
   5 Google is, in fact, inappropriately using the models’ likenesses.” Id. So too here,
   6 Plaintiff makes no plausible allegation of any commercial use of her name or likeness
   7 by the Twitter Defendants themselves. Merely hosting, facilitating, or failing to
   8 remove someone else’s misuse of Plaintiff’s identity does not give rise to a viable
   9 right of publicity claim. Accord Perfect 10, Inc. v. Visa Int’l Serv. Ass’n, No. C 04-
  10 0371 JW, 2004 U.S. Dist. LEXIS 15895, at *19-20 (N.D. Cal. Aug. 5, 2004)
  11 (dismissing right of publicity claim and explaining that the “fact that Plaintiff may
  12 have notified Defendants of illegal conduct is ‘not sufficient to establish aiding and
  13 abetting liability’” (citation omitted)).
  14          C.     Plaintiff Cannot Evade Section 230
  15          While the Court need go no further to dismiss Plaintiff’s false light and right of
  16 publicity claims, Plaintiff also cannot evade the extensive legal authority making clear
  17 that those claims are also barred by Section 230.
  18          Right of Publicity. Plaintiff does not even try to explain how any right of
  19 publicity claim against the Twitter Defendants could escape Section 230. Nor could
  20 she. In its prior Order in this case, the Court applied Section 230 to an identical claim.
  21 Morton v. Twitter, Inc., No. 2:20-cv-10434-GW-JEM, slip op. at 6 (C.D. Cal. Feb. 19,
  22 2021) (“Morton I”). That ruling controls here. Indeed, Plaintiff’s effort to hold Twitter
  23 liable for publishing or failing to remove third-party content is exactly what Section
  24 230 forbids. See, e.g., Barnes v. Yahoo!, Inc., 570 F.3d 1096, 1103 (9th Cir. 2009)
  25 (“[S]ection 230 protects from liability ‘any activity that can be boiled down to
  26 deciding whether to exclude material that third parties seek to post online.’” (quoting
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       REPLY ISO THE TWITTER DEFENDANTS’ MOTION TO   11            CASE NO. 2:21-cv-07145-GW-JEMx
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   1 Fair Hous. Council of San Fernando Valley v. Roommates.com, LLC, 521 F.3d 1157,
   2 1170-71 (9th Cir. 2008) (en banc))).
   3          False Light. As to the false light claim, Plaintiff claims that Section 230 does
   4 not apply because the claim is based on Twitter’s use of an algorithm to crop third-
   5 party content. Opp. at 21-24. But she fails to meaningfully engage with, much less
   6 distinguish, the extensive legal authority discussed in Twitter’s opening brief. MTD
   7 at 17-19. Plaintiff acknowledges that it was a third party, not the Twitter Defendants,
   8 who created and posted the photographs at issue. Opp. at 23. And she does not cite a
   9 single case that supports withholding Section 230 protection for an online service
  10 provider’s application of the kind of “neutral tool” at issue here to edit or facilitate
  11 the display of user content. Plaintiff also ignores the Ninth Circuit’s rulings in Barnes,
  12 570 F.3d 1096, Dyroff v. Ultimate Software Group, Inc., 934 F.3d 1093 (9th Cir.
  13 2019) and Carafano v. Metrosplash.com, Inc., 339 F.3d 1119 (9th Cir. 2003)—as well
  14 as the on-point decisions in Marshall’s Locksmith Serv., Inc. Google, LLC, 925 F.3d
  15 1263 (D.C. Cir. 2019) and Force v. Facebook, Inc., 934 F.3d 53 (2d Cir. 2019)—
  16 which make clear that “editing” user content is a traditional publisher function and
  17 that the use of automated algorithmic tools to perform such functions is fully protected
  18 by Section 230. MTD at 18; accord Nemet Chevrolet, Ltd. v. Consumeraffairs.com,
  19 Inc., 591 F.3d 250, 258 (4th Cir. 2009) (“§ 230 forbids the imposition of publisher
  20 liability on a service provider for the exercise of its editorial and self-regulatory
  21 functions” (citation omitted)).
  22          Plaintiff claims that by asserting that the algorithm is a neutral tool, Twitter
  23 seeks to convert this motion into a motion for summary judgment. Opp. at 22. Not so.
  24 It is well settled that Section 230 immunity can—and should—be resolved on a
  25 motion to dismiss where “the allegations in the complaint suffice to establish th[e
  26 defense].” Gonzalez v. Google LLC, 2 F.4th 871, 890 n.8 (9th Cir. 2021). In Gonzalez,
  27 the Ninth Circuit affirmed dismissal of claims that were based, in part, on Google’s
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       REPLY ISO THE TWITTER DEFENDANTS’ MOTION TO   12            CASE NO. 2:21-cv-07145-GW-JEMx
       DISMISS
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   1 alleged use of algorithms to recommend ISIS content. Id. at 892-96. The court
   2 reiterated its prior holdings that “a website is not transformed into a content creator
   3 or developer by virtue of supplying ‘neutral tools’ that deliver content in response to
   4 user inputs.” Id. at 893; accord id. at 896 (“a website’s use of content-neutral
   5 algorithms, without more, does not expose it to liability for content posted by a third-
   6 party”). In explaining why Google’s algorithms were neutral in this way, the Ninth
   7 Circuit emphasized what the plaintiff had failed to plead: “The TAC does not allege
   8 that Google’s algorithms prompted ISIS to post unlawful content. Nor does the TAC
   9 allege that Google’s algorithms treated ISIS-created content differently than any other
  10 third-party created content.” Id. at 896.
  11          So too here. Considerable information about Twitter’s cropping algorithm is
  12 provided by the Complaint and the materials it references. Compl. ¶¶ 9, 28-29 & n.2
  13 (blog post explaining operation of tool), 31 & nn.3-4. But Plaintiff does not (and could
  14 not) allege that Twitter’s algorithm was designed to encourage or favor illegal content
  15 or that it treated the images at issue here differently from other third party content.
  16 Based on the materials before the Court, this general-use algorithm is a clear example
  17 of a neutral tool that does not turn Twitter into a content developer. As in Gonzalez,
  18 the allegation that the algorithm may in some cases lead to undesirable results does
  19 not change that analysis. See 2 F.4th at 894 (“Though we accept as true the TAC’s
  20 allegation that Google’s algorithms recommend ISIS content to users, the algorithms
  21 do not treat ISIS-created content differently than any other third-party created content,
  22 and thus are entitled to § 230 immunity.”).
  23          That conclusion is underscored by O’Kroley v. Fastcase, Inc., 831 F.3d 352
  24 (6th Cir. 2016), which Plaintiff fails to meaningfully distinguish. Yes, O’Kroley
  25 addressed a different cropping tool (which generated snippets of website text for
  26 search results), but its fundamental insights apply fully to this case: automated
  27 cropping comes within a “publisher’s traditional editorial functions” and is protected
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       REPLY ISO THE TWITTER DEFENDANTS’ MOTION TO   13           CASE NO. 2:21-cv-07145-GW-JEMx
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   1 by Section 230—at least where it does not result in the addition of new material but
   2 instead reproduces, in an edited form, the underlying third-party material. Id. at 355.
   3 And just as Google was immunized for displaying an allegedly misleading snippet of
   4 third-party content, Twitter is protected for displaying an allegedly misleading
   5 cropped version of Plaintiff’s image.
   6             Finally, Plaintiff says this case is different because the Twitter user provided
   7 the content at issue “without authorization.” Opp. at 23 (emphasis omitted) (“Twitter,
   8 Inc. never had the right to display or distribute Plaintiff’s copyrighted works”
   9 (emphasis omitted)). That is irrelevant. Section 230 protection does not depend on
  10 whether the underlying third-party content is authorized to be posted on the service
  11 provider’s platform. Barnes makes that clear: that case arose from profiles that
  12 “contained nude photographs of [plaintiff] and her boyfriend, taken without her
  13 knowledge, and some kind of open solicitation, whether express or implied is unclear,
  14 to engage in sexual intercourse.” 570 F.3d at 1098. The plaintiff “did not authorize
  15 her now former boyfriend to post the profiles” (id.), yet the Ninth Circuit held that
  16 Yahoo was protected by Section 230 for failing to remove them (id. at 1102-03).
  17 Accord Morton I, at 6 (citing Parker v. Paypal, Inc., No. 16-04786, 2017 WL
  18 3508759, at *7 (E.D. Pa. Aug. 16, 2017) for the proposition that “Section 230 barred
  19 unjust enrichment claim against Amazon.com premised on the sale of unauthorized
  20 copies of plaintiff’s book on the Kindle store”); Ramey v. Darkside Prods., No. 02-
  21 730 (GK), 2004 U.S. Dist. LEXIS 10107 (D.D.C. May 17, 2004) (applying Section
  22 230 to bar claims based on online publication of advertisements for adult
  23 entertainment services that featured plaintiff’s intimate images that had been taken
  24 and used without her authorization).4
  25
  26      4
          Of course, Section 230 does not apply to Plaintiff’s actual copyright claims. 47
  27 U.S.C. § 230(e)(2). Twitter has not argued otherwise. But the statute’s “intellectual
                                                                                (continued...)
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     REPLY ISO THE TWITTER DEFENDANTS’ MOTION TO 14            CASE NO. 2:21-cv-07145-GW-JEMx
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   1          In short, while the Court need not reach Section 230, under established law, the
   2 statute bars Plaintiff’s claims, which are based on Twitter’s alleged display, failure to
   3 remove, and automated cropping of third-party content.
   4                                          CONCLUSION
   5          For these reasons, the claims against Twitter International, TweetDeck, and
   6 Magic Pony should be dismissed, and Plaintiff’s claim for false light and right of
   7 publicity should be dismissed against all Defendants.
   8
   9 Dated: December 10, 2021                        WILSON SONSINI GOODRICH & ROSATI
                                                     Professional Corporation
  10
  11                                                 By:             /s/Victor Jih
                                                                       Victor Jih
  12
  13                                                 Attorneys for the Twitter Defendants
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       property” exception does not apply to state law claims, including right of publicity
  24   and false light claims. See Perfect 10, Inc. v. CCBill LLC, 488 F.3d 1102, 1118-19
  25   (9th Cir. 2007) (applying Section 230 to reject right of publicity claim and holding
       that the intellectual property exception applies only to federal claims); Morton I at 6
  26   (dismissing right of publicity claim). And, as discussed, the fact that such claims
  27   (necessarily) arise from content that users are not authorized to display makes no
       difference.
  28
       REPLY ISO THE TWITTER DEFENDANTS’ MOTION TO         15          CASE NO. 2:21-cv-07145-GW-JEMx
       DISMISS
